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                      IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                )   Chapter 11
                                                      )
WHITE EAGLE ASSET PORTFOLIO, LP                       )   Case No. 18-12808 (KG)
                                                      )
                       Debtor.                        )
                                                      )
                                                      )
In re:                                                )   Chapter 11
                                                      )
WHITE EAGLE GENERAL PARTNER, LLC                      )   Case No. 18-12614 (KG)
                                                      )
                       Debtor.                        )
                                                      )
                                                      )
In re:                                                )   Chapter 11
                                                      )
LAMINGTON ROAD DESIGNATED                             )   Case No. 18-12615 (KG)
ACTIVITY COMPANY,                                     )
                                                      )
                       Debtor.                        )
                                                      )

                    MOTION OF DEBTORS FOR ENTRY OF AN
                ORDER (I) DIRECTING JOINT ADMINISTRATION OF
              CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this motion (the “Motion”) for entry of an order (i) directing joint administration of chapter 11

cases and (ii) granting related relief. In support of the Motion, the Debtors respectfully represent

as follows:

                                 JURISDICTION AND VENUE

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. The Debtors confirm their consent, pursuant to


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Rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry

of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are section 105(a) of title 11 of the

Bankruptcy Code, Bankruptcy Rule 1015(b), and Rules 1015-1 and 9013-1(m) of the Local

Rules of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”).

                                         BACKGROUND

       4.      On November 14, 2018, Debtors White Eagle General Partner, LLC (“WEGP”)

and Lamington Road Designated Activity Company (“LRDA”) each filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

       5.      On the date hereof, White Eagle Asset Portfolio, LP (“WEAP”) filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

business and managing their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases, and no committees have been appointed or designated.

       6.      The Debtors are indirect subsidiaries of Emergent Capital, Inc. (“ECI”), a publicly

traded company. ECI is a global leader in the life settlements industry.

       7.      Debtor WEAP owns a portfolio of 586 life insurance policies – also known as life

settlements – with an aggregate death benefit of approximately $2.8 billion.

       8.      The partnership interests in WEAP are owned by Debtors WEGP and LRDA.

WEGP is the general partner of WEAP, manages WEAP, and holds 0.10% of the interests

therein. LRDA is the limited partner of WEAP and holds 99.90% of the interests therein.
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          9.       A more detailed description of the business and operations of the Debtors, and the

events leading to the commencement of these chapter 11 cases, is provided in the Declaration of

Miriam Martinez, Chief Financial Officer, in Support of First Day Motions, filed concurrently

herewith (the “Declaration”) and incorporated herein by reference.1

                                            RELIEF REQUESTED

          10.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) directing procedural consolidation and joint administration of these

chapter 11 cases; and (b) granting related relief. The Debtors request that one file and one

docket be maintained for all of the jointly administered cases under the case of WEAP and that

the cases be administered under a consolidated caption, as follows:

                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )    Chapter 11
                                                                  )
WHITE EAGLE ASSET PORTFOLIO, LP, et al.,                          )    Case No. 18-12808 (KG)
                                                                  )
                                     Debtors.                     )    (Jointly Administered)
                                                                  )
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: White Eagle Asset Portfolio, LP (0691); White Eagle General Partner, LLC (8312); and
Lamington Road Designated Activity Company (7738). The location of the Debtors’ service address in these
chapter 11 cases is 5355 Town Center Rd., Suite 710, Boca Raton, FL 33486.

          11.      The Debtors further request that this Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of title 11 of the United States Code,

11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”).




1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Declaration.


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       12.     The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors other than WEAP to reflect the joint

administration of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
               Local Bankruptcy Rules for the United States Bankruptcy Court
               for the District of Delaware directing joint administration for
               procedural purposes only of the chapter 11 cases of: White Eagle
               Asset Portfolio, LP, Case No. 18-12808 (KG); White Eagle
               General Partner, LLC, Case No. 18-12614 (KG); and Lamington
               Road Designated Activity Company, Case No. 18-12615(KG).
               The docket in Case No. 18-12808 should be consulted for all
               matters affecting this case.

       13.     Finally, the Debtors seek authority to file the monthly operating reports required

by the Operating Guidelines and Reporting Requirements of the United States Trustee for

Chapter 11 Debtors in Possession and Chapter 11 Trustees, issued by the Office of the United

States Trustee for the District of Delaware (the “U.S. Trustee”), on a consolidated basis, but the

Debtors shall track and break out disbursements on a debtor-by-debtor basis in each monthly

operating report.

                                        BASIS FOR RELIEF

       14.     Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The three Debtor entities

that commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.




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        15.      Further, Local Rule 1015-1 provides additional authority for the Court to order

joint administration of these chapter 11 cases:

                 An order of joint administration may be entered, without notice
                 and an opportunity for hearing, upon the filing of a motion for joint
                 administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                 affidavit, declaration, or verification, which establishes that the
                 joint administration of two or more cases pending in the Court
                 under title 11 is warranted and will ease the administrative burden
                 for the Court and the parties. An order of joint administration
                 entered in accordance with this Local Rule may be reconsidered
                 upon motion of any party in interest at any time. An order of joint
                 administration under this Local Rule is for procedural purposes
                 only and shall not cause a “substantive” consolidation of the
                 respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

        16.      Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., In re VER

Technologies Holdco LLC, No. 18-10834 (KG) (Bankr. D. Del. Apr. 6, 2018) (directing joint

administration of chapter 11 cases); In re PES Holdings, LLC, No. 18-10122 (KG) (Bankr. D.

Del. Jan. 23, 2018) (same); In re Charming Charlie Holdings Inc., No. 17-12906 (SCC) (Bankr.

D. Del. Dec. 13, 2017) (same); In re GST AutoLeather, Inc., No. 17-12100 (LSS) (Bankr. D. Del.

Oct. 4, 2017) (same); In re Dex Media, Inc., No. 16-11200 (KG) (Bankr. D. Del. May 16, 2016)

(same).2

        17.      Given the integrated nature of the Debtors’ operations, joint administration of

these chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each Debtor entity. The entry of an order directing joint


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  Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
Copies of these orders are available upon request to the Debtors’ proposed counsel.


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administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings

and objections. Joint administration also will allow the U.S. Trustee and all parties in interest to

monitor these chapter 11 cases with greater ease and efficiency.

        18.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead,

parties in interest will benefit from the cost reductions associated with the joint administration of

these chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other parties in

interest.

                                               NOTICE

        19.     The Debtors have provided notice of this Motion to the following parties or their

respective counsel: (i) the Office of the United States Trustee; (ii) the Office of the United States

Attorney for the District of Delaware; (iii) the Debtors’ twenty largest unsecured creditors; (v)

counsel to CMLG and LNV; and (vi) all other known parties asserting a lien against the Debtors’

assets, by telecopy, email, overnight courier and/or hand delivery. As this Motion is seeking

“first day” relief, within two business days of the hearing on this Motion, the Debtors will serve

copies of this Motion and any order entered in respect to this Motion as required by Local Rule

9013-1(m). The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.

                                       NO PRIOR REQUEST

        20.     No prior request for the relief sought in this Motion has been made to this or any

other court.



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        WHEREFORE, the Debtors respectfully request that the Court enter the Order granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.


Dated: December 13, 2018                 PACHULSKI STANG ZIEHL & JONES LLP


                                          /s/ Colin R. Robinson
                                         Richard M. Pachulski (CA Bar No. 62337)
                                         Robert J. Feinstein (NY Bar No. 1767805)
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                                         Proposed Counsel for the Debtors
                                         and Debtors-in-Possession




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